
390 U.S. 455 (1968)
ALITALIA-LINEE AEREE ITALIANE, S. P. A.
v.
LISI ET AL.
No. 70.
Supreme Court of United States.
Argued March 11, 1968.
Decided March 25, 1968.
CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT.
George N. Tompkins, Jr., argued the cause for petitioner. With him on the briefs was Austin P. Magner.
Theodore E. Wolcott argued the cause and filed a brief for respondents.
Briefs of amici curiae, urging reversal, were filed by Edwin Longcope for the United Kingdom of Great Britain and Northern Ireland; by Robert MacCrate for Canada; by Alfred C. Clapp for the Republic of Italy; and by John E. Stephen, Joseph F. Healy, Jr., Harold L. Warner, Jr., Carl S. Rowe and Paul G. Pennoyer, Jr., for the Air Transport Association of America et al.
Briefs of amici curiae, urging affirmance, were filed by Samuel Langerman and Walter H. Beckham, Jr., for the American Trial Lawyers Association, by Stuart M. Speiser for Arnold Holtzman, and by Lee S. Kreindler for Bates Block.
Briefs of amici curiae were filed by Solicitor General Griswold, Morton Hollander and Joseph B. Goldman for the Civil Aeronautics Board, and by William A. Jennings for the Airline Passengers Association.
PER CURIAM.
The judgments are affirmed by an equally divided Court.
MR. JUSTICE MARSHALL took no part in the consideration or decision of this case.
